Case 1:15-cv-01797-DDD-MLH Document 1-1

STATE OF LOUISIANA

PARISH OF LAFAYETTE

David J. Calogero, Bar Roll #1748, of |

Filed 06/01/15 Page 1of1PageID#: 5

awful age, being sworn upon his oath,

states that he is the attorney for defendant herein, that he has prepared and read the

foregoing Notice of Removal, and that the matters and things contained therein are true,

as he verily believes.

Gals

\

DAVID CALOG ERO

SWORN TO AND SUBSCRIBED before me, this 1* day of June, 2015.

NOTARY PUBLIC
Printed vad HEM e MYERS

Notary ID#_ {O2¢

ROTA AEs,

  

fa mh 4
rit f
Cuan

  

 

 

-l-

 

OFFICIAL SEAL
CHERYL E. MYERS
ie TARY ID # 1024

»TeRY PUBLIC

a%h¢ SIA PARISH

COMH.cSIONED FOR LIFE_|

a ee cee

 
